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 Attorneys for Defendant Blake McDougal


                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


  KATE GRANT AND KARMANN                              DEFENDANT BLAKE MCDOUGAL’S
  KASTEN, LLC,                                             RULE 7.1 DISCLOSURE

         Plaintiffs,
                                                         Case No. 2:23-cv-00936-AMA-CMR
  v.

  KEVIN LONG; MILLCREEK                                  District Judge Ann Marie McIff Allen
  COMMERCIAL PROPERTIES, LLC;                            Magistrate Judge Cecilia M. Romero
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

         Defendants.



        Defendant Blake McDougal (“McDougal”) makes this Rule 7.1 disclosure. McDougal is

 not an entity. He is a citizen of the United States and the State of Utah.

        DATED this 24th day of February, 2025.

                                                MITCHELL BARLOW & MANSFIELD, P.C.

                                                /s/ J. Ryan Mitchell
                                                J. Ryan Mitchell
                                                Christopher A. Langston
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                                   Colby Tinney
                                   Attorneys for Blake McDougal




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of February, 2025, I caused a true and correct copy

 of the foregoing DEFENDANT BLAKE MCDOUGAL’S RULE 7.1 DISCLOSURE to be

 filed via the Court’s electronic CM/EMF system, which automatically provides notice of the

 filing to all counsel of record.

                                               /s/ Colby Tinney




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